                              Case 01-01139-AMC                                                         Doc 22766-44   Filed 08/13/09   Page 1 of 5


                       .'--    -. :       -'.:-;: ::..-   _:;".,:. ..:   ~             . .:;..::"-=-"="'...;..'
                                                                             o.="'-"-'."-                         _




                What the Experts Say

                Summary

              . Th7?iIl's mediCal standards are designed to eX9ludehundreds ofthousands of otherwise
               ·.legltImate·asbestos-poisoned individuals from compensation. The aforementioned specialists in
                 occupational.m~dicine with particular.expertise in the effects of asbestos contamination maintain .
                that S. 852tises arbitrary, outdated medical criteria to define ~bestos-related di~ease that are not
            . . based o~ or are inconsistent with cutrent medical and scientific knowledge.' The legislation:
                                      .                                                                 - - .

                 .• Requires x-ray evidence' ~f diseMeinstead ofmore technologi~~lly accurate, sensitive .
                      and readily available methods such as CT scan, defmes disease based onpre-l.995· .
                      thinking that has since been conclusively disproved, sets fixed exposure thresholds
                   · contrary to epidemiological evidence" arbitrarily reduces benefits to smokeisand failS to
                     recognize injuries to' cOIll:)umersandresidents living in proxUnlty to asbestos processmg
                    . plants.                    .                          .                    . '

                     • .Rejects most ofthe criteria for determining 1;he existenc.e and extent of asbestos~related
                        .disease established by the American, Medical AssociationGuides to the .Evaluation of
                         Permanent Impairment-s~dardswidely accepted by. the medical community and used
                       ·by 42 states and some Canadian provinces as the basis for workers compensation claims..

~ ..   '         •      Ignores the recommendations oithe AtDerican Thoracic Society (ATS), which were.
                       ·developed over the course of thr~e years by the preeminent expeI1s in the field of lung
                        disease, as' set forth in its GUidelinesfor the Diagnosis and'nitial Management of
                       Nonmalignant Diseases Related to Asbestos.                                                                . .          .

                 •     Relies on theteIm "substantial" as a determinant in a variety of contexts; a.word that has
                       no eorpmonly understood meaning in the me!iical 'comnlUnity, nor definitiop in medical
                       literature or in. the bill itself. This means that an administrator will be leftto make a
                       decision tantamoUnt to medical diagnosis, which Should be made by a physiCian...

           . Those excluded will lose their right. to :seek compensation in court for the barms iIiflicted by
             companies that knowingly exposed them'to a powerful human carcinogen. As diagnosed'
             Silfferers of asbestos~relateddiseases (although not eligible for fmancial assistance under the
             bill) they will be unable to obtain health or lifeinstirance. Some will be unable' to continue in
            .their current tr~de or to work at alI. The cost of their continuing medical care-'which for
            someone strickeri with asbestosis 'could be several thousand dollars a month for oxygen
            alone-will ultimately be borrie by taxpayers,.if at all.

             What follows is a detailed critique ofthe bill's medical criteria compiled from the. testimony,
           . statements and letters to Senate JudiciaryCommittee members by the aforementioned experts: ..




                                                                                                                  3
                   Case 01-01139-AMC             Doc 22766-44          Filed 08/13/09         Page 2 of 5


                                                                                                   .._--_.~ ...•... ---":...........--'-'-"------:...-




        .Diagnosisbas.ed on crude, outdated technology

         1;        X:.rays are   apoor substitute for CT scans
          The bilI almost completely relies on x-rays and a limited set ofpulmonary function tests-a
         more than century-old, forced breathing test-as the basic diagnostic tools and, by extension,
        .determinants of a claimant's compensation level. S,tudies comparing x-ray ~ith CT scan
         technology, have conclusiv9iyshown that the x-ray is a comparatively ctude way of ~
         diagnosing asbestosis. C.T scans are about 33 percent more sensitive in detecting interstitial
        disease, and over 50 percent more sensitive in detecting pleuraJ diseas,e. 4 .          . ,


      X-rays fl:\.il to diagnose many victims 6flwig disease caused by inhalation of asbestos fibers.
      One reason is that asbestosis-a progressive, sometimes fatal disease that. leaves its victims '
      d~pelldent,on external oxygen supplies for survival-can be present in the lung even though
   , the x-ray is 'normal using'the U-O classification system specified in the bill. 'The A1'8
   , guidelines affirm the USe ofhign resolution CT scanning for diagnosis of asbestosis when the
     chest x-ray is normal. As described in numerous peer-reviewed publicationS and in the ATS
     report" high-resolu,tioti computer tomo.graphy (HRCT) is now widely accepted asa diagnostic,
    'tool for asbestosis and asbestos-relatediung scarrmg. Recent studies: show that readers using a
    scoring index for BRCT were more accUrate and 'reliable in the diagnosis of asbestosis than .
    when using plain chest x~rays. The most notable st.UdYconcluded tha:t ''the examined HRCT
    scoring method prpved to be a simple, reliable, and reproducible method for cl~sifying lung
    fibrosis and diagnosing asbestosis also in large populations with Qccul'ationald,isease, and it,
    would be possible to use it as a part of an int~rnational classification."s Expert consensus '
    supports this'oonclusion.               '

    Nevertheless, there is only limited call fu the bill for use ofHRCT technology. The cost'for
   HRCT diagnosis compared to x-rays may be a concern, but there is every reason to believe .
   affordable pri~es for HRCT scans can be achieveO, especially as the volume' of such scans
   would grow if the technology were pennittedbeyond the narrow fashion now contemplated by
   the bill. Some treating.centers have already managed to get the cost down to just a few'
   hundred dollars per CTscan.                                                    '

   2.         Mesothelioma diagnosis remains elusive
               .                 . .         .                                   .

, ,'The bilI fails to require the use of sufficiently sophisticated techriologyto diagnose
     mesothelioma, cancer of the lining of the abdominal or chest cavity, which is so difficult to.
     detect accurately that a large number of cases 'go undiagnosed until after death. Mesothelioma
     cases are the most expensive for industry to compensate. The only documented cause of
  . mesothelioma is asbestos exposure; although it is often referred to as' a tare disease, the 2,500-
    4000 cases of mesothelioma diagnosed annually kill more people inthe U.S. than ovarian
    cancer. PET'SCans; which can be more sensitive than CT scans, should be incorporated into the
    diagnostic criteria ofthe bill. Flexibility to allow for serological diagnosis Shbuld also be
    included'in the bill. A blood test field tested in the U.S. and already in use in Australia has

 4Praser and Pare's diagnosis ofDiseases ofthe Chest. 4th &1., pp. 2431,2440.       .
 sO. Huuskonen, et al., High-resolution computed tomography classification oflungfibrosis for patients with
 asbestos-related disease, Scandinavian Journal of Work, Environment and Health 27(2):106-12, April 2001.

                                                         4
                Case 01-01139-AMC              Doc 22766-44     Filed 08/13/09      Page 3 of 5




       proven very sensitive in diagnosing the disease. u.s. clinical trials for blood tests for
       mesothelioma are occurring right noW at the Karmanos Cancer Institute in Michigan.
       Individuals at risk ofmesothelioma would be barred from offering the results provided by
       such emerging technology under the bill.           .. .                           . .

         .                                                             .

       Diagnosis base.d on arbitrary criteria inconsistent with· the current
       state of medical knowledge                              .

        1. . Barriers to proving asbestos-related fung disease.
       The bill requiresbilateralpleural·disease-thick scarrmg on the lining ·ofboth lungs-in order to·
       e~ablish that asbestos exposure IS the cause of illness. Moreoyer, the scarring, which.resembles
       an orange rind,·must be ofa certain width and be associated with'speci:6cbreathing impairment.
      .The dimension and impairment requirements have no basis ill medical· literatuie~ And as .. .
       acknowledged by the ATS in its guidelines, pleural scair~g associated With ·aSbeStos almost·
       always begins tinilateullly-.in just one lung-and often progresses unevenly. nlUS, the bill
      would ex~lude. from compensation, at the very least, individuals in the early stages of asbestosis.
    2.    . Flawed lung function testing··
   .The bill requiresabnorrnal ~pirometrY-a test ofthe abilitY to' blow aU- in and out-:-for a
    diagnosis of asbestosis, despite the fact that individuals with. asbestos-related disease do hot
    necessarily eyidencespirometric abnorri:J.altties. For eXample, a construction worker who suffers
   from obstruc.tive lung disease caused by duSt and welding fumes may also stifferfi'Om restrictive
   limg disease due to aSbestos exposure on the construction site. The worker may not exhibit
   abnomial spirometIy, however, because the obstructive~restrictive :Combination caiJ. produce an
   overall normal spirometric test result. .         ..                                 .


   Exposure criteria are unreasonably rigid

  1.·        Minimumexposu·res ~xclude Valid cases
                            .                                                           .
    The bill sets minimum durations of exposure to asbe.stos in order to establish valid elidms of
.. aSbestos-related· disease. For example, there·is a minimum 5~weighted-year·durationof asbestos·
   exposilre tosupport·a diagnosis of asbestosis. There is an 8-12 year requirement of exposure to
  .establish asbestos causation in the case of iimg caric~r.
                                           .            .     There is no support for strict exposure·
   thresholds til medical or scientific literature. On the contrary, evidence points to situations
   where, under some exposure conditions, a one-month occupational exposure to asbestos can
  markedly heighten the risk of lung cancer and increase the risk of asbestosis-related death.

 2.          Unreasonable discounting of exposure after 1976 and 1986 .

  The bill discounts exposure based on the years during which it occurred, counting each year of
  exposure after 1976 as only half a year, and after 1986 as one-tenth of a year. The rationale for
. this is presumably the reduced opportunities for toxic exposure after these dates due to the
  implementation of OSHAand EPA regulations. There is, however, no medical or scientific basis
  for the discount fonnula used in the bill, nor any other discount formula. Furthermore, the
                                                    5
                   Case 01-01139-AMC               Doc 22766-44                 Filed 08/13/09   Page 4 of 5


                                               "   ""''''''-''-'   ...   _   ... _~---                         " _ ' . _ .----"-c.c..:"",-,,-_,,-,-,,-_




           ,forl1lula is ludicrous on its face: an jndividual with colorectal, laryngeal~esQphagea1, pharyngeal'
            or stomach cancer whose exposure occurred after 1976 would need 105 years to meetthe criteria '
            fora. valid.
                      .
                         claim~ according
                                  ,
                                           to Dr. Philip Landrigan.' . .                        .
                                                                                                    ,,      . ' ,


           Ir:npairmentcriteria run counter to AMA guidelines'
           1.      Important medically-accepted Jests are left                    out
      . How wellaQ individual's lUngs are working can be measured accurately and reliably wIth
        pulmonary function testing. 'The diagnosis of asbestosis. depends in part oil charactei'i,stic' ,
        :fi:tJ.dings ofphysical exam, pathology, chest x-ray or CTscan, but inipainnent mu.st be measured
       with apprqpriate pulmonary function testing. The AMA Guides states, that each worker $hould
       undergo spirometry andDLCD-a measUre of the lungs' effiCiency in transf.erring:oxygen into
      'the blood,stream-as part of the evaluation' of lung impairment, and exe!cise tes~g can add
    , additional information iftieeded. Using a combination offorced vital capacity (FYC), forced
     .expiratory volume in one second (FEVl), DLCO, and oxygen consumption on elcercise testing
      (V02max) when needed, the patient is placed into one offour levels.                               .
    .                            '        .                    .                                   .     .

     The asbestos bilI refers to the AMA' Guides and includes spirometry, but omitsDLCO and
     oxygen consumption oli exercise testing-both ofwhich are important and readily available tests
     that the AMAhas determined are reliable and essential to determine how badly a person's lungs'
   , are iinpair~d. As a result, individuals with 'asbestosis may have to wait until their disease is
     advanced before they can qualify for treatment.'                                             '


      Causative criteria unreasonable and: unscientific

      1~        , Outdated reliance on "rnaricers" excludes ,legitimate cancer victims

     Versions of the bill in 2003 and 2004 provided three levels ofcompensation for victini.s of
  "aSbestos-related lung canoer: Level VII" for lung tancer victif1)sy.,it;h ~~. years of subs~tial
     oCcupational exposure, but whose x~rays showed no "markers" ofnon-malignant asbestos- .
     r~lated disease; Level VIII, for victims with lung Cancer whose, x-rays showed pleural' diseaSe;
     and Level IX for lung cancer victims with x-rays showing asbestosis. S. 852 has eliminated
     compensation under the old Level        Vn
                                             criteria for exposure in the absence of radiographic
  , ,"markers," a detennination that, b,ased on Congressional Budget Office projections will
    potentiallyremove more than 40,000 asbestos-related lung cancer yictims from coverage. 6
    Provisions recently added to the 2005 bill would 'allow some ofthe lung cancer victims without
    radiographic "markers" to use CTsc?-lls to show tha,t they have asbestosis, but the bill does not
    specify that victims with pleural disease can also use this more sensitive and specific diagnostic
    test to show their disease and:exposure. CT scans h~l.V~ been proven in scientific studies to
    identify pleural disease or asbestosis in approximately h~l.1f ofindividuals without such findings
    on x-rays, and that about half of these identified by CT scans will have asbestosis and half will


3 ' Tostimony ofP'g Somb""i,.      Dcr",,,. AFL-CIO. b,fo" th, S"",to 1<'i,l"" Committo,. Apdl 2005.
                                                                   ·6
                                    Case 01-01139-AMC         Doc 22766-44          Filed 08/13/09         Page 5 of 5


                ..    .....
             .._---~-',-_  '
                                            -   -   .



         )              have pleural disease. Thus, the net resuit ofthe bilI as introduced is that 25,000 - 30,000 asbestos
                        hmg cancer 'victims previously covered may not be eligible for compensation.?                 "

                         Numerous"studies show that there is a dose-response relationship betWeen expoSlUe to asbest.os
                         and the risk of lung cancer, with increasing exposure leading to increasing risk of disease. There
                         is no know safe level of exposure to asbestos. Workers at U.S. government facilities.get an
                        environinental pay differentiaLiftheir job exposes them to airborne'asbestos, regaidless ofthe
                        concentrations, or length oftiine' of exposure, so 'long as protective measures have not been '
                        implemented to eliininate the potential for injury.8 'With 15 years of substantial occupational
                    , exposure to asbestos, lung cancer can be attributed to that exposUre-it should not be necessary
                      'to docilment underlying non~maligriarit asbestos disease as well. More importantly, while" "
                       wotkerswith asbestosishave atwo~to,.four-fold higher riskofIung cancer than asbestos exposed
                       workers without asbestosis, asbestosis is merely a surrogate measure of exposure: significant
                      .asbeStos exposure is requiredto ca:us~·asbestosis. Since 1995, scientific studIes have clearly '.
                                                                                                               of
                       demonstrated that asbestosis itselfis not a'necessary intermediary fcirdev~lopment asbestos-
                    . related lUng cancer. Thus, currerit med.ical thinking rejects the threshold requirement of a: '
                      radiographic ''marker'' to prove that lung cancer has been caused by asbestos. As a' secondary' ,
                     ,matt:er, 'evep. where there is asbestosis, lung disease may not meet the stitl further hurdle of being ,
                      bilateral, as already discussed.                                                                      '
                                                                                                         .',

                     2;'           Smokers are unfairly punished'
                                       ,                             . .                            .


                  , The bin reduces the ability of lung 'cancer patients with a history ofasbestos exposUre and who,
                    snioke<;l to receive the same level of compensation as those who did not smoke, despite the well- ,
                    dqcumented synergistic effect ofthese two car<;inog~ns. People exposed to asbestos are five'
                  ,tirries'more lIkely to develop lung cancer thanth9se not exposed. Smokers rima 1O-fold risk of '
                   developing lung 'cancer compared to non-smokers. But a smoker who is also exposed to: asbestos
                 , has 55 times the risk of developing lung cancer. To e;l{clude a lung cancer sufferer with a: history
                   of occupational exposure to.asbestos solely because the vict~ smoked is unreasonable,because
                   it implies assumption of a significimtly heightened risk tha~ in fact,couldnot have been known
                   by the victim: even those whp would have been aware thatsmoking posed,a danger would not
                  have had knowledge ofthe synergistic combination, a'fact thatremains.inthe,province of
                  medicaIprofessionals and is not commonly advertised. It is,prejudicial because it singles out
                  smokers but ignores the synergistic iriteraqtion of other environmentaI carcinogens, such as '
..   '         , drinking arsenic-contaminated well water, with asbestos exposure. It is unfair because it a,llows a
                 corporation thatconcealecl the dangers ofsmoking from consumers to 'blame a given individual's
                 ~ung cancer on occupational cont~ct with, asbestos, and'a corporation that concealed the dangers
                 of asbestos from workers to claim that the same individual, who 'was an employee, got lung
                 cancer from smoking-thus exempting bad actors from legal liability. Finally, to arbitrarily
                 attribute a smoker's lung cancer to smoking rather than asbestos because there isnG radiographic.
                 "marker" of exposure, i.e., pleural disease, flies in the face of epidemiologIcal evidence as
               , described above.




                7 Ibid.        '
                8   u.s. Dep't. o/Veterans Affairs Medical Centerv. American Federation o/Government Employees, 46 FLRA No.
                107, January 1993.
                                                                       7
